                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 1 of 16



                                                           1   MICHAEL J. SACKSTEDER (CSB No. 191605)
                                                               msacksteder@fenwick.com
                                                           2   LAUREN E. WHITTEMORE (CSB No. 255432)
                                                               lwhittemore@fenwick.com
                                                           3   FENWICK & WEST LLP
                                                               555 California Street, 12th Floor
                                                           4   San Francisco, CA 94104
                                                               Telephone:     415.875.2300
                                                           5   Facsimile:     415.281.1350

                                                           6   GEOFFREY MILLER (CSB No. 308676)
                                                               gmiller@fenwick.com
                                                           7   FENWICK & WEST LLP
                                                               Silicon Valley Center
                                                           8   801 California Street
                                                               Mountain View, CA 94041
                                                           9   Telephone:     650.988.8500
                                                               Facsimile:     650.938.5200
                                                          10
                                                               Attorneys for Plaintiff
                                                          11   Supercell OY

                                                          12                                   UNITED STATES DISTRICT COURT
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13                              NORTHERN DISTRICT OF CALIFORNIA
                                          SAN FRANCISCO




                                                          14

                                                          15   Supercell Oy,                                   Case No. 3:17-cv-5556
                                                          16                      Plaintiff,                   COMPLAINT FOR PATENT
                                                                                                               INFRINGEMENT
                                                          17          v.
                                                          18   GREE, Inc., GREE International Entertainment,
                                                               Inc., GREE International, Inc., and Funzio
                                                          19   Games, Inc.
                                                                                Defendant.
                                                          20

                                                          21

                                                          22

                                                          23

                                                          24

                                                          25

                                                          26

                                                          27

                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT                                      Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 2 of 16



                                                           1          Plaintiff Supercell Oy (“Supercell”), by and through its attorneys, brings this complaint

                                                           2   against Defendants GREE, Inc., GREE International Entertainment, Inc., GREE International,

                                                           3   Inc., and Funzio Games, Inc. (collectively, “Defendants” or “GREE”) and alleges the following:

                                                           4                                      NATURE OF THE ACTION

                                                           5          1.      This is an action for patent infringement arising under the patent laws of the

                                                           6   United States, 35 U.S.C. § 1 et seq., specifically including 35 U.S.C. § 271(a), (b), and (c).

                                                           7                                                PARTIES

                                                           8          2.      Supercell Oy is a corporation organized under the laws of Finland, with a principal

                                                           9   place of business at Itämerenkatu 11-13, Helsinki, Uusimaa, 00180, Finland.

                                                          10          3.      On information and belief Defendant GREE, Inc. is a corporation organized under

                                                          11   the laws of Japan with a principal place of business at 6-10-1, Roppongi, Roppongi Hills Mori

                                                          12   Tower Minato-Ku, Tokyo, Japan. On information and belief, GREE, Inc. does substantial
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13   business on an ongoing basis, on its own behalf and for and with its wholly owned subsidiaries,
                                          SAN FRANCISCO




                                                          14   GREE International Entertainment, Inc., GREE International, Inc., and Funzio Games, Inc. in the

                                                          15   United States, including in the State of California and in this District, and through its wholly

                                                          16   owned subsidiaries, in this District.

                                                          17          4.      On information and belief Defendant GREE International Entertainment, Inc. is a

                                                          18   corporation organized under the laws of Delaware with a principal place of business at 185 Berry

                                                          19   Street, Suite 590, San Francisco, CA 94107.

                                                          20          5.      On information and belief Defendant GREE International, Inc. is a corporation

                                                          21   organized under the laws of California with a principal place of business at 642 Harrison St., San

                                                          22   Francisco, CA 94107.

                                                          23          6.      On information and belief Defendant Funzio Games, Inc. is a corporation

                                                          24   organized under the laws of Delaware with a principal place of business at 185 Berry Street, Suite

                                                          25   590, San Francisco, CA 94107.

                                                          26                                    JURISDICTION AND VENUE

                                                          27          7.      Supercell hereby restates and re-alleges the allegations set forth in paragraphs 1

                                                          28   through 6.


                                                                COMPLAINT FOR PATENT INFRINGEMENT                2                                Case No. 3:17-cv-5556
                                                                  Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 3 of 16



                                                           1           8.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

                                                           2   (jurisdiction over federal questions) and 28 U.S.C. § 1338(a) (jurisdiction over civil actions

                                                           3   arising under any Act of Congress relating to patents).

                                                           4           9.      On information and belief, GREE maintains and/or maintained offices in the

                                                           5   Northern District of California at 185 Berry Street, San Francisco, California 94107 and 642

                                                           6   Harrison Street, San Francisco, California 94107.

                                                           7           10.     GREE, Inc., GREE International Entertainment, Inc., GREE International, Inc. and

                                                           8   Funzio Games, Inc. transact and conduct business in this District and the State of California, and

                                                           9   are subject to the personal jurisdiction of this Court.

                                                          10           11.     For example, this Court has personal jurisdiction over GREE, Inc. pursuant to due

                                                          11   process and the California Long Arm Statute, due at least to its continuous and systematic

                                                          12   business contacts in the State of California and in this District, including committing acts of
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13   patent infringement within the State of California and this District at its office in the Northern
                                          SAN FRANCISCO




                                                          14   District of California and as alleged below, and by virtue of its relationship with its wholly owned

                                                          15   subsidiary GREE International Entertainment, Inc., which has its principal place of business in

                                                          16   this District, and its relationship with GREE International, Inc., which is a California corporation

                                                          17   with its principal place of business in this District. In addition, GREE, Inc. distributes its games

                                                          18   through the Apple Inc.’s App Store for games played on iOS and through Google Inc.’s Google

                                                          19   Play distribution service for games played on the Android operating system. Apple, Inc. is

                                                          20   headquartered in Cupertino, California in the Northern District of California, and Google, Inc. is

                                                          21   headquartered in Mountain View, California in the Northern District of California. On

                                                          22   information and belief, GREE, Inc. has committed at least one act of infringement in the Northern

                                                          23   District of California by distributing infringing product(s) and/or providing infringing services to

                                                          24   customers in this District. GREE, Inc. has also purposefully directed its business activities to this

                                                          25   State and this District. GREE, Inc. directly or through intermediaries (including distributors,

                                                          26   retailers, and others), distributes, offers for sale, sells, and advertises its products infringing the

                                                          27   asserted patent, described below, in the United States, the State of California, and this District.

                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT                  3                                 Case No. 3:17-cv-5556
                                                                  Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 4 of 16



                                                           1   GREE, Inc. also induces and/or or contributes to the acts of patent infringement by third parties in

                                                           2   this District.

                                                           3           12.      By way of further example, the Court has at least general personal jurisdiction

                                                           4   over GREE International Entertainment, Inc. because it has or had its principal place of business

                                                           5   in San Francisco, California, within this District.

                                                           6           13.      By way of further example, the Court has at least specific personal jurisdiction

                                                           7   over GREE International Entertainment, Inc. pursuant to due process and the California Long

                                                           8   Arm Statute, due at least to its continuous business contacts in the State of California and in this

                                                           9   District, including committing acts of patent infringement within the State of California and this

                                                          10   District, as alleged below. GREE International Entertainment, Inc. has also purposefully directed

                                                          11   its business activities to this State and this District, including by its continued operation in this

                                                          12   District. GREE International Entertainment, Inc., directly or through intermediaries (including
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13   distributors, retailers, and others), distributes, offers for sale, sells, and/or advertises its products
                                          SAN FRANCISCO




                                                          14   infringing the asserted patents, described below, in the United States, the State of California, and

                                                          15   this District. GREE International Entertainment, Inc. also induces and/or contributes to acts of

                                                          16   patent infringement by third parties in this District.

                                                          17           14.      By way of further example, the Court has at least general personal jurisdiction

                                                          18   over GREE International, Inc. because it is organized under the laws of the State of California

                                                          19   and has its principal place of business in San Francisco, California, within this District.

                                                          20           15.      By way of further example, the Court has at least specific personal jurisdiction

                                                          21   over GREE International, Inc. pursuant to due process and the California Long Arm Statute, due

                                                          22   at least to its continuous business contacts in the State of California and in this District, including

                                                          23   committing acts of patent infringement within the State of California and this District, as alleged

                                                          24   below. GREE International, Inc. has also purposefully directed its business activities to this State

                                                          25   and this District, including by its continued operation in this District. GREE International, Inc.

                                                          26   directly or through intermediaries (including distributors, retailers, and others), distributes, offers

                                                          27   for sale, sells, and/or advertises its products infringing the asserted patents, described below, in

                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT                   4                                 Case No. 3:17-cv-5556
                                                                  Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 5 of 16



                                                           1   the United States, the State of California, and this District. GREE International, Inc. also induces

                                                           2   and/or contributes to acts of patent infringement by third parties in this District.

                                                           3           16.     By way of further example, the Court has at least general personal jurisdiction

                                                           4   over Funzio Games, Inc. because it is organized under the laws of the State of California and has

                                                           5   its principal place of business in San Francisco, California, within this District.

                                                           6           17.     By way of further example, the Court has at least specific personal jurisdiction

                                                           7   over Funzio Games, Inc. pursuant to due process and the California Long Arm Statute, due at

                                                           8   least to its continuous business contacts in the State of California and in this District, including

                                                           9   committing acts of patent infringement within the State of California and this District, as alleged

                                                          10   below. Funzio Games, Inc. has also purposefully directed its business activities to this State and

                                                          11   this District, including by its continued operation in this District. Funzio Games, Inc. directly or

                                                          12   through intermediaries (including distributors, retailers, and others), distributes, offers for sale,
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13   sells, and/or advertises its products infringing the asserted patents, described below, in the United
                                          SAN FRANCISCO




                                                          14   States, the State of California, and this District. Funzio Games, Inc. also aids, abets, and/or

                                                          15   contributes to the infringement of third parties in this District.

                                                          16           18.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and/or 1400

                                                          17   because, among other reasons, GREE, Inc. is a foreign corporation and has committed and

                                                          18   continues to commit acts of infringement in this District; GREE International, Inc. is incorporated

                                                          19   in – and therefore resides in – the State of California, has (or at relevant times, had) a regular and

                                                          20   established place of business in this District, and has committed and continues to commit acts of

                                                          21   infringement in this District; and GREE International Entertainment, Inc. and Funzio Games, Inc.

                                                          22   each resides in this district, has (or at relevant times, had) a regular and established place of

                                                          23   business in this District, and has committed and continues to commit acts of infringement in this

                                                          24   District.

                                                          25                                   INTRADISTRICT ASSIGNMENT

                                                          26           19.     Pursuant to Civil L.R. 3-2(c), this action is to be assigned on a district-wide basis

                                                          27   because it is an intellectual property action.

                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT                 5                                   Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 6 of 16



                                                           1                                        THE PATENTS-IN-SUIT

                                                           2          20.     U.S. Patent No. 9,106,449 (“the ’449 patent”), titled “Method, Apparatus and

                                                           3   System for Obtaining Logon Information,” was issued by the United States Patent and Trademark

                                                           4   Office on August 11, 2015. Supercell is the owner by assignment of the entire right, title, and

                                                           5   interest in and to the ’449 patent. Supercell possesses the sole, exclusive, and undivided right to

                                                           6   sue for infringement and collect damages for past and future infringement by Defendants. A true

                                                           7   and correct copy of the ’449 patent is attached hereto as Exhibit A.

                                                           8          21.     The ’449 patent relates to logon technology in Instant Messaging (“IM”), and

                                                           9   specifically, to a system, method, and apparatus for obtaining logon information for a value-

                                                          10   added service. See Ex. A at 1:15-18. Obtaining such logon information involves receiving by a

                                                          11   function plug-in a request for logon information from a value-added service client and sending by

                                                          12   a function plug-in the request for the logon information to an IM client corresponding to the
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13   value-added service client. A schematic diagram illustrating a structure of a system for logging
                                          SAN FRANCISCO




                                                          14   on a value-added service server according to an exemplary embodiment of the ’449 invention is

                                                          15   shown in Figure 2 of the ’449 patent, excerpted below.

                                                          16

                                                          17

                                                          18

                                                          19

                                                          20

                                                          21

                                                          22

                                                          23

                                                          24

                                                          25
                                                                      22.     In earlier Internet applications, the game client would obtain the logon information
                                                          26
                                                               such as a user account from the IM client by way of an inter-process communication. In other
                                                          27
                                                               words, a communication mode between the IM client and the game client would be pre-
                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT                6                               Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 7 of 16



                                                           1   configured, and the IM client would not be able to add or change the communication process at

                                                           2   any moment according to the update of the game client. If a new game client were issued, the

                                                           3   new game client would not be able to communicate with the IM client because no communication

                                                           4   process would have been created between the new game client and the IM client. The new game

                                                           5   client would not be able to log on the game server until a communication process was created

                                                           6   between the new game client and the IM client, for example, until the version of the IM client

                                                           7   was upgraded. Ex. A at 2:19-32. Figure 1, excerpted below, is a schematic that illustrates a

                                                           8   conventional procedure of a game client logging on a game server.

                                                           9

                                                          10

                                                          11

                                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                          14

                                                          15

                                                          16

                                                          17

                                                          18

                                                          19

                                                          20

                                                          21

                                                          22
                                                                      23.     As stated in the specification, through embodiments of the present invention, when
                                                          23
                                                               a new value-added service client is issued, it is just needed to add a new function plug-in
                                                          24
                                                               corresponding to the new value-added service client and register the new function plug-in while
                                                          25
                                                               installing the new value-added service, while it is not necessary to make any change to the
                                                          26
                                                               existing IM client. Therefore, the new value-added service client can interact with the IM client
                                                          27
                                                               through the new function plug-in, and then obtain the logon information. The new plug-in
                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT               7                               Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 8 of 16



                                                           1   interacts with the IM client by using the common interface, thereby enabling the new value-added

                                                           2   service client to obtain the logon information easily, flexibly and conveniently and then log on the

                                                           3   value-added service server. Id. at 3:20-35. A schematic diagram shown in Figure 3 below.

                                                           4

                                                           5

                                                           6

                                                           7

                                                           8

                                                           9

                                                          10

                                                          11

                                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                          14

                                                          15

                                                          16
                                                                      24.     Claim 1 of the ’449 patent reads:
                                                          17
                                                                              1. A method for obtaining logon information, comprising:
                                                          18                  obtaining, by an Instant Messaging (IM) client of a user, logon
                                                                                    information which comprises a user account of the user when the
                                                          19                        user logs on the IM client;
                                                                              sending, by a value-added service client of the user, a request for logon
                                                          20
                                                                                    information when the user started the value-added service client;
                                                          21                  receiving, by a function plug-in, the request for logon information from
                                                                                    the value-added service client;
                                                          22                  sending, by the function plug-in, the request for the logon information to
                                                                                    the IM client;
                                                          23                  returning, by the IM client, the logon information of the user to the
                                                                                    function plug-in;
                                                          24
                                                                              receiving, by the function plug-in, the logon information from the IM
                                                          25                        client;
                                                                              sending, by the function plug-in, the logon information to the value-added
                                                          26                        service client; and
                                                                              sending, by the value-added service client, the logon information of the
                                                          27                        user obtained from the IM client to a value-added service server to
                                                          28                        log on the value-added service server.


                                                                COMPLAINT FOR PATENT INFRINGEMENT                 8                             Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 9 of 16



                                                           1          25.     U.S. Patent No. 9,104,520 (“the ’520 patent”), titled “Method and Apparatus for

                                                           2   Upgrading Application,” was issued by the United States Patent and Trademark Office on August

                                                           3   11, 2015. Supercell is the owner by assignment of the entire right, title, and interest in and to the

                                                           4   ’520 patent. Supercell possesses the sole, exclusive, and undivided right to sue for infringement

                                                           5   and collect damages for past and future infringement by Defendants. A true and correct copy of

                                                           6   the ’449 patent is attached hereto as Exhibit B.

                                                           7          26.     The ’520 patent relates to mobile communication technologies, specifically to a

                                                           8   method and apparatus for upgrading an application. See Ex. B at 1:15-18. The ’520 patent

                                                           9   provides a method and apparatus for upgrading an application, so as to avoid providing too many

                                                          10   patch packages for the same version of application available on multiple release channels. In one

                                                          11   embodiment of the invention the claimed method for upgrading an application comprises:

                                                          12                  obtaining a patch package corresponding to a current installation package
                                                                                    of an application;
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13                  removing a customized information portion from the current installation
                                          SAN FRANCISCO




                                                                                    package and obtaining a data portion of the current installation
                                                          14                        package;
                                                          15                  generating a data portion of a new installation package according to the
                                                                                    patch package and the data portion of the current installation
                                                          16                        package;
                                                                              obtaining the new installation package by adding the customized
                                                          17                        information portion to the data portion and the new installation
                                                                                    package;
                                                          18                  installing the new installation package.
                                                          19                  COUNT I: INFRINGEMENT OF U.S. PATENT NO. 9,106,449
                                                          20          27.     Supercell hereby restates and re-alleges the allegations set forth in paragraphs 1
                                                          21   through 26.
                                                          22          28.     GREE infringes at least claims 1-14 of the ’449 patent, either literally or under the
                                                          23   doctrine of equivalents, by making, using, selling, offering to sell, and/or importing into the
                                                          24   United States GREE’s mobile games: DragonSoul, Knights & Dragons, Crime City, Modern
                                                          25   War, and Kingdom Age (the “Accused Products”).
                                                          26          29.     As set forth below, the Accused Products infringe claims 1-14 of the ’449 patent.
                                                          27   For exemplary purposes, the Accused Product “Modern War” will demonstrate infringement of
                                                          28   each method step below.

                                                                COMPLAINT FOR PATENT INFRINGEMENT                 9                               Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 10 of 16



                                                           1          30.     Claim 1 of the ’449 patent recites as follows:
                                                                              1. A method for obtaining logon information, comprising:
                                                           2                  obtaining, by an Instant Messaging (IM) client of a user, logon
                                                           3                        information which comprises a user account of the user when the
                                                                                    user logs on the IM client;
                                                           4                  sending, by a value-added service client of the user, a request for logon
                                                                                    information when the user started the value-added service client;
                                                           5                  receiving, by a function plug-in, the request for logon information from
                                                                                    the value-added service client;
                                                           6
                                                                              sending, by the function plug-in, the request for the logon information to
                                                           7                        the IM client;
                                                                              returning, by the IM client, the logon information of the user to the
                                                           8                        function plug-in;
                                                                              receiving, by the function plug-in, the logon information from the IM
                                                           9                        client;
                                                                              sending, by the function plug-in, the logon information to the value-added
                                                          10
                                                                                    service client; and
                                                          11                  sending, by the value-added service client, the logon information of the
                                                                                    user obtained from the IM client to a value-added service server to
                                                          12                        log on the value-added service server.
F ENWICK & W EST LLP




                                                                      31.     GREE’s Accused Products meet all requirements of claim 1. Upon information
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                          14   and belief, the Accused Products perform a method that includes obtaining, by an IM client of a

                                                          15   user, logon information which comprises a user account of the user when the user logs on the IM

                                                          16   client. For example, users of the Accused Products are able to logon to the Accused Products via

                                                          17   a third-party service.

                                                          18

                                                          19

                                                          20

                                                          21

                                                          22

                                                          23

                                                          24

                                                          25

                                                          26

                                                          27

                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT             10                              Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 11 of 16



                                                           1

                                                           2

                                                           3

                                                           4

                                                           5

                                                           6

                                                           7

                                                           8          32.     The Accused Products perform a method that includes sending, by a value-added
                                                           9   service client of the user, a request for logon information when the user started the value-added
                                                          10   service client. For example, when the user first launches the game on his or her device, logon
                                                          11   information is requested from the associated third-party service.
                                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                          14

                                                          15

                                                          16

                                                          17

                                                          18

                                                          19

                                                          20

                                                          21

                                                          22

                                                          23

                                                          24

                                                          25

                                                          26

                                                          27

                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT              11                               Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 12 of 16



                                                           1          33.     The Accused Products perform a method that includes receiving, by a function

                                                           2   plug-in, the request for logon information from the value-added service client.

                                                           3          34.     The Accused Products perform a method that includes sending, by the function

                                                           4   plug-in, the request for the logon information to the IM client.

                                                           5          35.     The Accused Products perform a method that includes returning, by the IM client,

                                                           6   the logon information of the user to the function plug-in.

                                                           7          36.     The Accused Products perform a method that includes receiving, by the function

                                                           8   plug-in, the logon information from the IM client.

                                                           9          37.     The Accused Products perform a method that includes sending, by the function

                                                          10   plug-in, the logon information to the value-added service client.

                                                          11          38.     The Accused Products perform a method that includes sending, by the value-added

                                                          12   service client, the logon information of the user obtained from the IM client to a value-added
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13   service server to log on the value-added service server. For example, as shown in the image
                                          SAN FRANCISCO




                                                          14   below, once the game has been linked to a third-party account, the game will automatically log

                                                          15   the user on to the linked account upon opening the game.

                                                          16

                                                          17

                                                          18

                                                          19

                                                          20

                                                          21

                                                          22

                                                          23          39.     GREE has actual or constructive notice of the ’449 patent and GREE’s
                                                          24   infringement of the ’449 patent at least from the time of the filing of this Complaint.
                                                          25          40.     GREE’s continuing infringement of the ’449 patent will continue to damage
                                                          26   Supercell, causing irreparable harm for which there is no adequate remedy at law, unless GREE is
                                                          27   enjoined by this Court from further acts of infringement.
                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT               12                               Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 13 of 16



                                                           1          41.     GREE’s past and future acts of infringement of the ’449 patent have caused and

                                                           2   will cause damages to Supercell, entitling Supercell to recover damages from GREE in an amount

                                                           3   subject to proof at trial, but in no event less than a reasonable royalty extending through the life of

                                                           4   the ’449 patent.

                                                           5                  COUNT II: INFRINGEMENT OF U.S. PATENT NO. 9,104,520

                                                           6          42.     Supercell hereby restates and re-alleges the allegations set forth in paragraphs 1

                                                           7   through 41.

                                                           8          43.     GREE infringes at least claims 1-20 of the ’520 patent, either literally or under the

                                                           9   doctrine of equivalents, by making, using, selling, offering to sell, and/or importing into the

                                                          10   United States GREE’s mobile games: DragonSoul, Knights & Dragons, Crime City, Modern

                                                          11   War, and Kingdom Age.

                                                          12          44.     Upon information and belief, GREE’s Accused Products include the method and
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13   apparatus for upgrading an application technology recited in claims 1-20 of the ’520 patent. For
                                          SAN FRANCISCO




                                                          14   exemplary purposes, the Accused Product “DragonSoul” will demonstrate infringement of each

                                                          15   method step below.

                                                          16          45.     As set forth below, the Accused Products infringe claims 1-20 of the ’520 patent.

                                                          17   Claim 1 of the ’520 patent recites as follows:

                                                          18          1. A method for upgrading an application, comprising: obtaining a patch package
                                                                             corresponding to a current installation package of an application;
                                                          19                 removing a customized information portion from the current installation
                                                                             package and obtaining a data portion of the current installation package;
                                                          20                 generating a data portion of a new installation package according to the
                                                          21                 patch package and the data portion of the current installation package;
                                                                             obtaining the new installation package by adding the customized
                                                          22                 information portion to the data portion of the new installation package;
                                                                             and installing the new installation package.
                                                          23

                                                          24          46.     GREE’s Accused Products meet all requirements of claim 1. The Accused

                                                          25   Products perform a method that includes obtaining a patch package corresponding to a current

                                                          26   installation package of an application.

                                                          27

                                                          28


                                                                COMPLAINT FOR PATENT INFRINGEMENT                13                               Case No. 3:17-cv-5556
                                                                 Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 14 of 16



                                                           1          47.         Upon information and belief, the Accused Products perform a method that

                                                           2   includes removing a customized information portion from the current installation package and

                                                           3   obtaining a data portion of the current installation package.

                                                           4          48.     Upon information and belief, the Accused Products perform a method that

                                                           5   includes generating a data portion of a new installation package according to the patch package

                                                           6   and the data portion of the current installation package.

                                                           7          49.     Upon information and belief, the Accused Products perform a method that

                                                           8   includes installing the new installation package.

                                                           9          50.     In view of the foregoing, GREE’s Accused Products directly infringe at least

                                                          10   Claims 1-20 of the ’520 patent.

                                                          11          51.     GREE has actual or constructive notice of the ’520 patent, and GREE’s

                                                          12   infringement of the ’520 patent at least from the time of the filing of this Complaint.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13          52.     GREE’s continuing infringement of the ’520 patent will continue to damage
                                          SAN FRANCISCO




                                                          14   Supercell, causing irreparable harm for which there is no adequate remedy at law, unless GREE is

                                                          15   enjoined by this Court from further acts of infringement.

                                                          16          53.     GREE’s past and future acts of infringement of the ’520 patent have caused and

                                                          17   will cause damages to Supercell, entitling Supercell to recover damages from GREE in an amount

                                                          18   subject to proof at trial, but in no event less than a reasonable royalty extending through the life of

                                                          19   the ’520 patent.

                                                          20                                      DEMAND FOR JURY TRIAL

                                                          21          54.     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Supercell hereby

                                                          22   demands trial by jury of all issues so triable.

                                                          23                                         PRAYER FOR RELIEF

                                                          24          55.     WHEREFORE, Supercell respectfully requests that this Court enter

                                                          25   judgment in its favor and against GREE as follows:

                                                          26          A.      A declaration that GREE has infringed and continues to infringe one or more

                                                          27                  claims of the ’449 patent under 35 U.S.C. § 271, and a final judgment

                                                          28                  incorporating the same;


                                                                COMPLAINT FOR PATENT INFRINGEMENT                  14                             Case No. 3:17-cv-5556
                                                               Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 15 of 16



                                                           1         B.     For GREE, and its officers, agents, servants, employees, and those persons in

                                                           2                active concert or participation with any of them, be preliminarily and permanently

                                                           3                enjoined from any further infringement of the ’449 patent pursuant to 35 U.S.C. §

                                                           4                283. In the alternative, if the Court finds that an injunction is not warranted,

                                                           5                Supercell requests an award of post-judgment royalty to compensate for future

                                                           6                infringement;

                                                           7         C.     For an award of damages adequate to compensate Supercell for GREE’s

                                                           8                infringement of the ’449 patent, together with prejudgment and post-judgment

                                                           9                interest and costs pursuant to 35 U.S.C. 284;

                                                          10         D.     A declaration that GREE has infringed and continues to infringe one or more

                                                          11                claims of the ’520 patent under 35 U.S.C. § 271, and a final judgment

                                                          12                incorporating the same;
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13         E.     For GREE, and its officers, agents, servants, employees, and those persons in
                                          SAN FRANCISCO




                                                          14                active concert or participation with any of them, be preliminarily and permanently

                                                          15                enjoined from any further infringement of the ’520 patent pursuant to 35 U.S.C. §

                                                          16                283. In the alternative, if the Court finds that an injunction is not warranted,

                                                          17                Supercell requests an award of post-judgment royalty to compensate for future

                                                          18                infringement;

                                                          19         F.     For an award of damages adequate to compensate Supercell for GREE’s

                                                          20                infringement of the ’520 patent, together with prejudgment and post-judgment

                                                          21                interest and costs pursuant to 35 U.S.C. 284;

                                                          22         G.     For an order finding that GREE’s infringement is willful and enhancing damages

                                                          23                pursuant to 35 U.S.C. § 284;

                                                          24         H.     For an order finding that this is an exceptional case under 35 U.S.C. § 285 and

                                                          25                awarding relief, including reasonable attorneys’ fees, costs, and expenses;

                                                          26         I.     For such other and further relief as this Court may deem just and proper.

                                                          27

                                                          28


                                                               COMPLAINT FOR PATENT INFRINGEMENT              15                                Case No. 3:17-cv-5556
                                                                Case 4:17-cv-05556-YGR Document 1 Filed 09/25/17 Page 16 of 16



                                                           1   Dated: September 25, 2017           FENWICK & WEST LLP

                                                           2

                                                           3                                       By: /s/ Michael J. Sacksteder
                                                                                                       Michael J. Sacksteder
                                                           4                                           Attorneys for Plaintiff
                                                                                                       Supercell Oy
                                                           5

                                                           6

                                                           7

                                                           8

                                                           9

                                                          10

                                                          11

                                                          12
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13
                                          SAN FRANCISCO




                                                          14

                                                          15

                                                          16

                                                          17

                                                          18

                                                          19

                                                          20

                                                          21

                                                          22

                                                          23

                                                          24

                                                          25

                                                          26

                                                          27

                                                          28


                                                               COMPLAINT FOR PATENT INFRINGEMENT     16                            Case No. 3:17-cv-5556
